                                                                                                                                                                                                                                                                                                                                                                                              Case 1:11-cv-00559-WMS Document 19-44 Filed 07/26/11 Page 1 of 1




                                                                                                                     ANDERSON PL




                                                             RICHMOND AVE
                                                                                                                                                           W UTICA ST

                                                                                                                                      HODGE AVE
                                                                                                                                                       BRYANT ST




                                                                                NORWOOD AVE


                                                                                                                     ELMWOOD AVE

                                                                                                                                      OAKLAND PL
                                                                                              ASHLAND AVE
                                                                                                                                     SUMMER ST




                                                                                                                                              MAYFAIR LN
                                                                            ST




                                                                                                                                                E
                                                                    A




                                                                                                                                            E AV
                                                             NI




                                                                                                                                       PARK ST
                                                                                                                                     IRVING PL
                                                         A
                                                      LV    PL
                                                 SY       S




                                                                                                                                        WAR
                                             N        HN ST
                                          EN       JO ON
                                      P          ST DS         K




                                                                                                                                   DELA
                                                                                                        MARINER ST
                                                             R
                                                   HU      PA
                                                         S      T

                                                                                                               SE
                                                       Y DS
                                                      A
                                                     D AN
                                                                                                                 LM
                                                      Y L
               ST                                   R
          EY                                      MA          TR                                                              WO
        RS                                                       IN                                                             OD
                                                   GA E TH Y P
AM




                                                                    ITY
     JE
                                                     W
                                                     RDST ST L




                                                                                                                            PL
  VE




                                                                                                                                     AV
                                                       W
                                                       10 TNE

                                                        EN AV
    TS




                                                         HI




                                                                                                                                       E
                                                            ALE
     DR




                                                                                                                                               ST
                                                              Y



                                                                                                                                         KLIN




                                                             W CH
                                                                             IPPE
                                                                                                                                      FRAN




                                                                                  WA S
                                                                            CAR       T
                                                                                Y ST
                                                         NI
                    LA




                                                           AG
                      KE




                                                                                                                                  Y
                                                             AR




                                                                                                                              N AL
                         F
                       RO LA




                                                               A
                                                         7TH ST

                                                                                    ST
                         NT KE
                         I 1 MN RO




                                                                                                                        BE A
                            90 S NT
                            C F




                                                                                                     CO UR
                                                                                                                                   T ST
                                                                S                             T
                                                           INIA
                             O
                                 JI                V   IRG
                                   BW
                                    BL




                                                                                               U PP
                                      VD




                                     A
                                         CI
                                           R
                                                                                                      ER T




                                           W
                                                                                                            ER




                                               IL
                                                  K
                                                      ES
                                                         O
                                                                                MA




                                                             N
                                                                                       PEARL ST




                                                                   W
                                                                                    RIN




                                                                            A
                                                                                Y
                                               ERIE ST
                                                                                          SCOTT ST
                                                                                           ED
                                                                                              R
                                                                                                            ST
                                                                                                    MAIN




                                                                                                                                                               E
                                                                                                                                                             AV
                                                                                                                                                AN
                                                                                                                                  IC         HIG
                                                                                                                               SM
                                                                                                                                                             GA
                                                                                                                                                              NS
                                                                                                                                                               ON
                                                                                                                                                                  ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                         A WY VO PL



                                                                                                                                                                                                                                                                                                                                                                                                                                                               PL L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    P
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    N
                                                                                                                                                                                                                                                                                                                                                                                                                                                               A N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                S OGDEN ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                           AT LE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 DA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                                                                                                                                                          M NO IN A P AV
                                                                                                                                                                                                                                                                                                                                                                                                                                                         NI DA
                                                                                                                                                                                                                                                                                                                                                                                                                                                               R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      W




                                                                                                                                                                                                                                                                                                                                                                                                                                                             A
                                                                                                                                                                                                                                                                                                                                                                                                                                                            JO
                                                                                                                                                                                                                                                                                             S                                                                                                                                                                                               N




                                                                                                                                                                                                                                                                                                                                                                                                                                                       JU N



                                                                                                                                                                                                                                                                                                                                                                                                                                       S E A R M ON G E
                                                                                                                                                                                                                                                                                                 PA                                                                                                                                                                                                  EE




                                                                                                                                                                                                                                                                                                                                                                                                                                                          VO




                                                                                                                                                                                                                                                                                                                                                                                                                                                           L
                                                                                                                                                                                                                                                                                                                                                                                                                                                     M SA
                                                                                                                                                                                                                                                                                                                                                                                                                                                        PK
                                                                                                                                                                                                                                                                                                   R                                                                                                                                                                                                      PK
                                                                                                                                                                                                                                                                                                    K                                                                                                                                                                                                          W




                                                                                                                                                                                                                                                                                                                                                                                                                                                   W Y
                                                                                                                                                                                       S ST




                                                                                                                                                                                                                                                                                                                                                                                                                                           E




                                                                                                                                                                                                                                                                                                                                                                                                                                              O E PL
                                                                                                                                                                                                                                                                                                             A




                                                                                                                                                                                                                                                                                                                                                                                                                                                 PK W
                                                                                                                                                                                   HILD                                                                                                                                                                                                                                                                                                                            Y




                                                                                                                                                                                                                                                                                                                                                                                                                                       ID
                                                                                                                                                                                                                                                                                                              VE                                                                                                                                                                                                                                          RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                     Y
                                                                                                                                                                                                                                                                                                                                                                                                                                               LE PK
                                                                                                                                                                               C




                                                                                                                                                                                                                                                                                                                                                                                                                VE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      S




                                                                                                                                                                                                                                                                                                                                                                                                                                     HS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ING




                                                                                                                                                                                                                                                                                                                                                                                                                                                  PO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SPR




                                                                                                                                                                                                                                                                                                                                                                                                                                   UT
                                                                                                                                                                                                                                                                                                                                                                                                       D S EL A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       L
                                                                                                                                                                                                                                                                                                                                                                               E




                                                                                                                                                                                                                                                                                                                                                                                                                                            IN K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ERA
                                                                                                                                                                                                                                                                                                                                                       ST




                                                                                                                                                                                                                                                                                                                                                                                                    LAN IMM E




                                                                                                                                                                                                                                                                                                                                                                                                                                            O A
                                                                                                                                                                                                                                                                                                                                                                            AV




                                                                                                                                                                                                                                                                                                                                                                                                                                  SO
                                                                                                                                                                                                                                                                                                                                                                                                              V                                                                                 MIN
                                                                                                                                                                       BU




                                                                                                                                                                                                                                                                                                                                                                                       S
                                                                                                                                                                                                                                                                                                                                             Y




                                                                                                                                                                                                                                                                                                                                                                                                           YA
                                                                                                                                                                                                                                                                                                                                                                                          LE
                                                                                                                                                                                                                                                                                                                                      B



                                                                                                                                                                                                                                                                                                                                                                         ON
                                                                                                                                                                        FF




                                                                                                                                                                                                                                                                                                                                     B




                                                                                                                                                                                                                                                                                                                                                                                                           T
                                                                                                                                                                                                                                                                                                                                                                                     M       GI




                                                                                                                                                                                                                                                                                                                                                                                                                                          R
                                                                                                                                                                                                                                                                                                                                                                                                                             ST
                                                                                                                                                                                                                                                                                                                                     A




                                                                                                                                                                                                                                                                                                                                                              BUFFALO ST




                                                                                                                                                                                                                                                                                                                                                                                      A
                                                                                                                                                                                                                                                                                                                                                                                        RB ON
                                                                                                                                                                                                                                                                                                                                                                                                  O E US S
                                                                                                                                                                            AL




                                                                                                                                                                                                                                                                                                                                                                      YS




                                                                                                                                                                                                                                                                                                                                                                                                       K
                                                                                                                                                                                                                                                                                                                     EW
                                                                                                                                                                                      OH




                                                                                                                                                                                                                                                                                                                                                                                                    DR                   SE VE
                                                                                                                                                                               O




                                                                                                                                                                                                                                                                                                                                                                                            ET
                                                                                                                                                                                                                                                                                                                                                            PA
                                                                                                                                                                                                                                                                                                                     N




                                                                                                                                                                                                                                                                                                                                                                                                                       O       A T
                                                                                                                                                                                       IO




                                                                                                                                                                                                                                                                                                                                                                                                                     R
                                                                                                                                                                               SK




                                                                                                                                                                                                                                                                                                                                                             LILAC ST




                                                                                                                                                                                                                                                                                                                                                                                              H                             L


                                                                                                                                                                                                                                 Buffalo NY
                                                                                                                                                                                                                                                                                                                                                                                                    PL
                                                                                                                                                                                                                                                                                                                                                                                                     H




                                                                                                                                                                                                                                                                                                                                                                                                                 EL       R        S
                                                                                                                                                                                           ST




                                                                                                                                                                                                                                                                                                                                                                                                C              M OE AN
                                                                                                                                                                                                                                                                                                                                                                                                 MID
                                                                                                                                                                                  W




                                                                                                                                                                                                                                                                                                                                                                                                  T
                                                                                                                                                                                                                                                                                                                                                                                                        ST                  Y
                                                                                                                                                                                   Y




                                                                                                                                                                                                                                                                                                                                                                                                                     N
                                                                                                                                                                                                                                                                                                                                                                                               AM




                                                                                                                                                                                                                                                                                                                                                                           HEATHCOCK PARK ON                       K
                                                                                                                                                                                                                                                                                                                                                                                                                        S
                                                                                                                                                                                                                                                                                                                                                                                                                          R             ST PL
                                                                                                                                                                                                                                                                                                                                                                                                                                    LE ON L
                                                                                                                                                                                                                                                                                                                                                                                             AL




                                                                                                                                                                                                                                                                                                                                                                                                  S            T




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ST
                                                                                                                                                                                                                                                                                                                                                                                                N            S                    A       T N P PL
                                                                                                                                                                                                                                                                                                                                                                        MACAMLEY ST           VE                                Y
                                                                                                                                                                                                                                                                                                                                                                                                                                      CE O T




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D
                                                                                                                                                                                                                                                                                                                                                        SPAULDING ST                                       D ST
                                                                                                                                                                                                                                                                                                                                                                                           TE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                    N
                                                                                                                                                                                                                                                                                                                                                                                                         N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SE
                                                                                                                                                                                                                                                                                                                                                                                                                                   IN ST ON
                                                                                                                                                                                                                                                                                                                                                                                                                                             VE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                 A
                                                                                                                                                                                                                                                                                                                                                                                                       A D
                                                                                                                                                                                                                                                                                                                     RITTLING BLVD




                                                                                                                                                                                                                                                                                                                                                                             T           S            L                          R       G


                                                                                                                                                                                                                                                                                                                                                                                                                                                               TL
                                                                                                                                                                                                                                                                                                                                                         HOUSTON ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        NE
                                                                                                                                                                                                                                                                                                                                                                            S                       T OR                       P IN EM
                                                                                                                                                                                                                                                                                                                                                                                                                                            A


                                                                                                                                                                                                                                                                                                                                                                           R ST                    U

                                                                                                                                                                                                                                                                                                                                                                                                                                                            R
                                                                                                                                                                                                                                                                                                                                                                        TE
                                                                                                                                                                                                                                                                                                                                                                                                                                           O



                                                                                                                                                                                                                                                                                                                                                                                                                                   K R
                                                                                                                                                                                                FUH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CA
                                                                                                                                                                                                                                                                                                                                                        OSAGE ST                                 R ILF                                                    PO
                                                                                                                                                                                                                                                                                                                                                                      ES DGE E
                                                                                                                                                                                                                                                                                                                                                                                                                                        LI




                                                                                                                                                                                                                                                                                                                                                                                                                                      PE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ST
                                                                                                                                                                                                                                                                                                                                                                                                                                       C




                                                                                                                                                                                                                                                                                                                                                                  K O BRI S A V                      M




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ST
                                                                                                                                                                                                 RM




                                                                                                                                                                                                                                                                                                                                                                                                                    E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             EN
                                                                                                                                                                                                                                                                                                                                                                    OW IE                                         V
                                                                                                                                                                                                                                                                                                                                                                 TR     PR      KENEFICK AVE                    A E


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ID
                                                                                                                                                                                                   AN




                                                                                                                                                                                                                                                                                                                                                                                                              E AV                        ST
                                                                                                                                                                                                                                                                                                                                         GERMANIA ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    VE
                                                                                                                                                                                                                                                                                                                                                                                                            R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               NE W M
                                                                                                                                                                                                                                                                                                                                                                                  COMO AVE                O S
                                                                                                                                                                                                      NB




                                                                                                                                                                                                                                                                                                                                                                                                                                        A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                A

                                                                                                                                                                                                                                                                                                                                                           PAYNE AVE                                    M BU                         VI                                  M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                D


                                                                                                                                                                                                                                                                                                                                                                                                      H                           O
                                                                                                                                                                                                                                                                                                                                                                                                                                                               O



                                                                                                                                                                                                                                                                                                                                                                                                     T M
                                                                                                                                                                                                      LVD




                                                                                                                                                                                                                                                                                                                                                           GARVEY AVE                                                 VE ZEN
                                                                                                                                                                                                                                                                                                                                                                                                                                                         O




                                                                                                                                                                                                                                                                                                                                                                                                   A U
                                                                                                                                                                                                                                                                                                                                                                                                 R OL
                                                                                                                                                                                                                                                                                                                                                                                                                                                       EW




                                                                                                                                                                                                                                                                                                                     ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   AN P L
                                                                                                                                                                                                                                                                                                                                                                                                                    A
                                                                                                                                                                                                                                                                                                    NC
                                                                                                                                                                                                                                                                                                       E                                                                                       ST C               E         A
                                                                                                                                                                                                                                                                                                                                                                                                                                                      G




                                                                                                                                                                                                                                                                                                                                                                                                                C         C
                                                                                                                                                                                                                                                                                                IDE
                                                                                                                                                                                                                                                                                                                                                                                                                                                  ED




                                                                                                                                                                                                                                                                                              OV                                                                                                              A                      CAZE
                                                                                                                                                                                                                                                                                            PR                                                                                                             LS                                NOV                       E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AV
                                                                                                                                                                                                                                                                                                                     ABBY ST




                                                                                                                                                                                                                                                                                                                                                              CRYSTAL AVE RICHFIELD AVE                  A                    VE                 IA PK
                                                                                                                                                                                                                                                                                                                                                                                                                                                       WY          K
                                                                                                                                                                                                                                                                                                                                                                                                             AVE             A                                   IN
                                                                                                                                                                                                                                                                                                                                                                                       BLOOMF        IELD               TE                                     LL
                                                                                                                                                                                                                                                                                                                                                               AMBER ST                                                A                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                            W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          TU



                                                                                                                                                                                                                                                                                                                                                                                                                     O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         PO

                                                                                                                                                                                                                                                                                                                                                            LOCKWOOD AVE                                           H
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                SC



                                                                                                                                                                                                                                                                                                                                                                                                                 C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         TT

                                                                                                                                                                                                                                                                                                                                                             ALTRURIA ST                                            WHITFIELD AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   A

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RO




                                                                                                                                                                                                                                                                                                                                                                                  SHEFFIELD AVE                             COOLIDGE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              S
                                                                                                                                                                                                            F AT




                                                                                                                                                                                                                                                                                                                                                            W WOODSIDE AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               RA

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RD


                                                                                                                                                                                                                                                                                                                                                             LADNER AVE                     WOODSIDE AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  RD
                                                                                                                                                                                                                HER




                                                                                                                                                                                                                                                                                                                                                                                              MARIEMON          T  AVE       RAMONA AVE
                                                                                                                                                                                                                                            ST                                                                                                               READING AVE
                                                                                                                                                                                                                                         FT
                                                                                                                                                                                                                                      TIF                                                                                                                                                       IRWIN RD                      BROST DR
                                                                                                                                                                                                                 BA




                                                                                                                                                                                                                                                                                                                                                                COLGATE AVE                                                               NARRAGANSETT RD
                                                                                                                                                                                                                  KER




                                                                                                                                                                                                                                                                                                                                                                                                 CULVER RD
                                                                                                                                                                                                                                                                                                                                                        LARABEE ST                RIDGEWOOD RD            HOLLYW         OOD       AVE SHENANDOAH RD
                                                                                                                                                                                                                      ME




                                                                                                                                                                                                                                                                                                                                                         CARTER ST                                OKELL ST                    KIMBERLY AVE               DUNDEE ST
                                                                                                                                                                                                                         M




                                                                                                                                                                                                                                                                                                                                                                                             W




                                                                                                                                                                                                                                                                                                                                                                                              MARILLA ST                        ARBOUR LN               CUSHING PL
                                                                                                                                                                                                                        HIG




                                                                                                                                                                                                                                                                                                                                                                                            T




                                                                                                                                                                                                                                                                                                                                                                         ASHTON PL                                                             DENSMORE ST
                                                                                                                                                                                                                                                                                                                                                                                        LY C




                                                                                                                                                                                                                                                                                                                                                                                                  EDEN ST
                                                                                                                                                                                                                             HW




                                                                                                                                                                                                                                                                                                                                                                                                   DALLAS RD                                   CANTWELL DR                                                                               CARLYLE AVE
                                                                                                                                                                                                                                                                                                                                                                 HOPKINS ST


                                                                                                                                                                                                                                                                                                                                                                                   NEVIL
                                                                                                                                                                                                                                AY




                                                                                                                                                                                                                                                 WY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           HANSEN AVE




                                                                                                                                                                                                                                             L PK                                                                                                                                                                                                                                              N             LN                            DOWNING ST
                                                                                                                                                                                                                                          ANA
                                                                                                                                                                                                                                                                                                                                                                                                   LELAND DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      S   US A
                                                                                                                                                                                                                                      IP C
                                                                                                                                                                                                                                                        HA




                                                                                                                                                                                                                                                                                                                                                                                                                                       EVANSTON PL                                                                                                      BRITT AVE
                                                                                                                                                                                                                                 SH
                                                                                                                                                                                                                                                          NN




                                                                                                                                                                                                                                                                                                                                                                                                                                       ALDRICH PL                                                                                                     TURNER AVE
                                                                                                                                                                                                                                                             A




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DORRANCE AVE
                                                                                                                                                                                                                                                                                                                                                            DR
                                                                                                                                                                                                                                                              DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E BLVD




                                                                                                                                                                                                                                                                                                                                                       RK
                                                                                                                                                                                                                                                                                                                                            PA
                                                                                                                                                                                                                                                    LO




                                                                                                                                                                                                                                                                                                                                                                                                                                                          DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                  ROSARY AVE
                                                                                                                                                                                                                                                       HR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         JULIAN AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                    BURKE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          S SHOR




                                                                                                                                                                                                                                                                                                                                                                                                    PARKVIEW AVE                                                                                                          BELL AVE
                                                                                                                                                                                                                                                          S




                                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                                     ND AVE
                                                                                                                                                                                                                                                                                             HIGHLA TH AVE
                                                                                                                                                                                                                                                        T




                                                                                                                                                                                                                                                                           WILKESBARRE ST




                                                                                                                                                                                                                                                                                                                                                                                                           Y PKWY
                                                                                                                                                                                                                                                                                                    EW AV




                                                                                                                                                                                                                                        COMMERCE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             D




                                                                                                                                                                                                                                                              DR                                                                                                                                   MCKINLE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          BAKER CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     R
                                                                                                                                                                                                                                         HA M




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ORCHARD PL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LYNN ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RD




                                                                                                                                                                                                                                                                                                                                                                                                      BAKER ALY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EA
                                                                                                                                                                                                                                                                       E




                                                                                                                                                                                                                                                                                                                                                                                              NASON PKWY
                                                                                                                                                                                                                                                                                             KOSSU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ST
                                                                                                                                                                                                                                                                                              FAIRVI
                                                                                                                                                                                                                                                                  A AV
                                                                                                                                                                                                                                             B UR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         SCOTIA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      IN




                                                                                                                                                                                                                                                                                                                                                    RIDGE RD                                                                                                                                                                                                   RIDGEWOOD CIR
                                                                                                                                                                                                                                                           LAW AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     W
                                                                                                                                                                                                                                              GT




                                                                                                                                                                                                                                                               ANN




                                                                                                                                                                                                                                                                                                                                                  CALDWELL PL                                                                                                                                                   MEADOWBROOK DR
                                                                                                                                                                                                                                                                N




                                                                                                                                                                                                                                                                                                                                                COOKE
                                                                                                                                                                                                                                                PK E




                                                                                                                                                                                                                                                                                     BAUDER AVE                                                            BERRY AVE
                                                                                                                                                                                                                                                            SSO




                                                                                                                                                                                                                                                                                                                                                      ST                                                                                                                                                           NORFRED DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SAIN




                                                                                                                                                                                                                                                                                   CLARK ST                                                                       CEMETERY RD
                                                                                                                                                                                                                                                                                                                                                    EDNA PL
                                                                                                                                                                                                                                                         WA




                                                                                                                                                                                                                                                                                                         LEHIGH ST




                                                                                                                                                                                                                                                                                                                                                                                                                    VICTORY AVE
                                                                                                                                                                                                                                                       STEE




                                                                                                                                                                                                                                                                                                                                                                                                       COLTON AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    CLOVERLEAF AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      T JU




                                                                                                                                                                                                                                                            WILSON ST                                                                                      RICH PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          AVE                                                 ELMVIEW AVE
                                                                                                                                                                                                                                                          OLCOTT ST                                                                                      PULASKI ST                                                                                                                                             W ELMVIEW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              DE




                                                                                                                                                                                                                                                              ODELL ST                                                                                  EDGEWOOD PL                                                                                                                                                                                                              WIESNER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               GOODRICH RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     DR




                                                                                                                                                                                                                                                    HOLBROOK ST                                                                                          CLINTON ST                                                                                                                                                                                                           BOARDMAN RD
                                                                                                                                                                                                                                                               WELL ST                                                                                                                                                                                                                                             WEBER RD
                                                                                                                                                                                                                                                                                                                                                       MUCK ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FISHER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SH




                                                                                                                                                                                                                                                        Lackawanna NY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 AM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     OL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 BEDFORD AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  KN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  BARLOW AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      JU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                RY




                                                                                                                                                                                                                                                                     SCHOOL ST                                                                                                        MARTIN RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LI E




                                                                                                                                                                                                                                                                                                                                                          HOME PL                                                                                                                                                                                    SHA                         PACIFIC AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                               MA




                                                                                                                                                                                                                                                                   DONA ST
                                                                                                                                                                                                                                                                                             A ST




                                                                                                                                                                                                                                                                                                                                                                            KNOWLTON AVE                                                                                                                                                                N   NON
                                                                                                                                                                                                                                                                                                                                                                 VE                                                                                                                                                                                                           DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     DR




                                                                                                                                                                                                                                                                                                                                                               A
                                                                                                                                                                                                                                                                                                                                                            AW        WARSAW ST                                                                                     MICH                                                 DELLA DR
                                                                                                                                                                                                                                                                                                                                                         RS                                                                                                                      ELLE
                                                                                                                                                                                                                                                                                                                                                       WA             MODERN AVE                                                                                                                      DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ER
                                                                                                                                                                                                                                                                                                                                                             WILLOW ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        TE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      FA
                                                                                                                                                                                                                                                                                                                                                             WOOD ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LT
                                                                                                                                                                                                                                                                                                                                                             FRONT ST




                                                                                                                                                                                                                                                                                            AVE                                                                     ARNOLD PL
                                                                                                                                                                                                                                                                          SON                                                                                                                                                                                                                                                               DE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           NO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        IC




                                                                                                                                                                                                                                                                       ACK                                                                                                                                                                                                                                                                LU
                                                                                                                                                                                                                                                                                                          ELM ST




                                                                                                                                                                                                                                                                   J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             K




                                                                                                                                                                                                                                                                                                                                                                                                          S HA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D
                                                                                                                                                                                                                                                                                 ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   JE




                                                                                                                                                                                                                                                                                                                                                                                                               RON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               WESTGATE BLVD
                                                                                                                                                                                                                                                                        WALNUT ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    RESERVE RD                                                                                                                  HAZEL CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ER
                                                                                                                                                                                                                                                                        BEECH ST




                                                                                                                                                                                                                                                                                                                                                                                                                   P KW
                                                                                                                                                                                                                                                                                                    BIRCH ST
                                                                                                                                                                                                                                                                          PINE ST




                                                                                                                                                                                                                                                                                                                                                                                        PIGGENS ALY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 MA
                                                                                                                                                                                                                                                                         SPRUCE




                                                                                                                                                                                                                                                                                                                                                                                                                       Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H




                                                                                                                                                                                                                                                                                                                                                                                                 E MILNOR AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               FI




                                                                                                                                                                                                                                                                                                                                                                                         KEEVER AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 VD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              S




                                                                                                                                                                                                                                                                                                                                                                                       CLEVELAND AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              BL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      EDISON ST                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           RN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               FIRESTONE ST    GRANT BLVD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               TE
                                                                                                                                                                                                                                                                                                                                                                                      YL
                                                                                                                                                                                                                                                                                                                                                                                        N                                                                                                                                                             SMITH DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             W
                                                                                                                                                                                                                                                                                                                                                                                  E RL                                                                                                                                          0                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   H
                                                                                                                                                                                                                                                                                                                                                                 KIM
                                                                                                                                                                                                                                                                                                                                                                              B                         CLOISTER CT                                                                                                      I9                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       UT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   INNER DR




                                                                                                                                                                                                                                                                                                                                                                                             VAN WYCK ST                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CH                                                          SO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CIRCLE LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     PELLMAN PL                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ER
                                                                                                                                                                                                                                                                                                                                                                                   LISA ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              BALEN DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E       ED
                                                                                                                                                                                                                                                                                                                                                                                                                                               WILLET RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          BERG RD                                                                                                                        SCHAEFER RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     MICHAEL RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          UNION RD ORCHARD PARK RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ROOK DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          EAGLEB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               BURMON DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   CHISHOLM TRL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              E ROYAL HILL DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ROYALCREST RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   RIDGEWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  WEISS ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LAKEWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            BIELER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LAKEVIEW AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            KC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         MELBERRY TR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               BIELAK RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          OO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ANGLE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                IROQUOIS DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ST LN     BR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           HILLSIDE AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                NCRE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MINDEN DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LC O             L E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     VISTULA AVE                                                                                                                                                                                                                                                                                                                                        CR                                                                                                                                                                                                                                                                                       DD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              SA



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          EL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                EE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              VELORE AVE                                                                                                                                                                                                                                                                                                                                          KS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         FA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ICK DR

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SID




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      TRANSIT RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ID                                                                                                                                                                                                                                                TH  W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 AH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     E                                                                                                                                                                                                                                          SO U
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        S




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             TR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LAKE AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         UN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    CO



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                WINDOM AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    SUMMIT AVE                                                                                                                                                                                                                                                                                                                                                               HAMMOCKS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            BAKER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ARD R                                                                  PLE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      WINDW                                                                                                              AS A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        NT                             REPPIEN PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   N BENZING RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       AV E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RE D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   AMELIA DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  NOEL DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                TAIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HART PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                MILESTRIP RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           PONDEROSA CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     PILGRIM PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   MID COUNTY DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           GA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              S BENZING RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DILLER DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          TR

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              FERN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 WASHINGTON AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DALE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           R                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ONE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               BROOKVIEW TE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LET
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         EG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           GE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                YST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HODSON RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       MP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           DEACON RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   BRE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     TE

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    G RA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      EM S




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     OLYMPIC AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WEBSTER RD                                                                                                                                                                                                                                   A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           T




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CARRIAGE DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        JUNIPER LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ERRINGTON TER




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                W ABBOTT GROVE AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     N            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   HOLLOW CRES




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  H RU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              BIRC         CIR         R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    R NU T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           SIL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              BUTTE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N BUFFALO RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    POPLAR AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                EN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               DON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         S HE L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  TM




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          TA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              NE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           YL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     EA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                OR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FREE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              O




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             TH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                TH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              MAN R LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    OM




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ELLIS RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BRAUNVIEW WAY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  T RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              BU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        METZGER DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             STOUGHTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         NORWOOD LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 VENTURA DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               HARTLOFF PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            BENDER DR


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 RB




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    T




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              STEP                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            KATHRYN DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ABBO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PING
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         STON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 AN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             E            LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    K DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            FAY S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LINWO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  T                                                                                                                                                                                                                                                                                              NEW TAYLOR RD                                                                                                                                                                                                     SUNSET TER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           GLEN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           R          T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  RS                                                                                                                                                                                                                                                                                              QUAK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    S




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          IMPERIAL DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ME
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CENTRE DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ST                                                                                                                                                                                                                                                                                               EMERSON DR                                                                                                                                                                                                                   KE                                                                                                                                                                                                                                                                                                     ER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     EE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ALLE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     GR       UA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LAN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     OD AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   YL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               N ST                                                                                                                                                                                                                                                                                                 BERKLEY DR                                                                                                                                                                                                 INS       E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   NL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             OK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              QUAKER LAKE TER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          OR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        OAKW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           HENNING DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LANCASTER LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N DAVIS ST

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LARNED LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             OOD A                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            BR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   SHADOW LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      POTTER AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     INC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    VE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              CHE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PENH                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    COLONY DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LOCKW PARK PL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      OLD FARM RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        OLN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      URST                                                                BIG TR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ST                                                                   EE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  RRY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ADOW LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        OOD LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              FOX ME
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               KI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            A        VE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  NG




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ALLEN LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LO ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LN                                                                                                                                                                                                                                                                                                                                                                                                                   DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      TRE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 T                                                                                                                                                                                                                                  ADOW    ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     S




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SAYBROOK RD                                                                                                                                                                                    N                                                                                                                                                                                RS                                                                                                                                                                                                                  S ME                                                        O                                             CAMBRIDGE CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RU                                                                                                                                                                                  KE                                                                                                                                                                                                                                                                                       NE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          E LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    TH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           UA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 LINDSEY LN                                                                                                                                                    X
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         WQ
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               S BUFFA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           HE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      O




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             FO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         DORCHESTER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             NG                        STONEHENGE DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 BANK ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RHALL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                D                                                 E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              KR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ELMTREE RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       OO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               BR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MIDDLESEX RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    OW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                AD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            WINTE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              MEADOWLAWN RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ME

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                SCHULTZ RD

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Orchard Park NY                                                                                                                                                                                                                                                                                                                                                                                                                                                         SON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              GP                            KWY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          MIDWAY                                                                                                                                                                    BIRD                                                             IPER CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      S SHO                                                                                                                                                                                                                                                                                                                                                     SANDP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LIF




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RE DR                                                                                                                             DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ROCK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                OR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TRL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           DOVE                                                                                                             WOODTHRUSH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REGALWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                L                        N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                R CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ELMHURST DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        NIA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        EL DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FOX CHAP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             HICKO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      KING FISHE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  RY RD                                                                                                                                                                                                                                                                                                                                                                                      HILLSIDE DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ORCHARD HILL DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   CT                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   IA                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LMWOOD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CRESC                                                                                                                                                                                                                                                                                                                                                                                                                         JEWETT HO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       MIST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                TH                                                                                                                                                                                                                                                                                                                                                                                               ENT DR                                                                                                                                                                                                                                                                                                                                                                                     TS D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      BURLBROOK DR                                                                           SY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         EIGH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           MO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 DUERR RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    VA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E H
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LENNYS LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            R                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               EAG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Y RID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 UN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         FO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               PINEWOO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  TIMBERLAK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               AARON




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SCA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   TA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     TTE                                                                                                                                                                                                                               CHASE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 BUSSENDORFER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LN                                                                                                  RTR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              NORTH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  GE L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EE L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     IR Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 SOUTHERN EXPY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  VIE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        EDG




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    NEW ARMOUR RD                                                                                                                                                                                                                                N                                                                                                                                                                                                                     W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        KE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       PAWTUCKET ROW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        N                                                                                                                                                         DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     JU                                                                                                                                                                                                                                                                                             LN                                                                                                                                                                 U
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      W




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Y                                                                                                                                                                                                                                                                                            D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     TRL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DI                                                                                                                                                                                                                                                                         DAIS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           NT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     GERBER PKWY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             OO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         EW A




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        KN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      H




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     TH                                                                                                                                                                                                                                                                                                                                                                                                                                        R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          OO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CONC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EE                                                 CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   UT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           EW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 MURPHY RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           OBPINE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DR                                                                              EW                                                                                                                                                                                                                                                                                                                                                                              N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              E DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              BREN                                                                                                    PHILSON DR                                                                                                                                                                                                        D                                            TO                                                                                  L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           SO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Z       TWOOD CMN                                                                                                                                                                                                                                                                                                                                                                                                                                                              NG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          TER




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     EE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HI TER




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   BR                                                                                                                                                                                                                                                                                                                                                                           HA                                                                                                   TA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                LL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ORD D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    BASSWOOD LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        CU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            L RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ALEXANDER WAY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          OW LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   RD                                                                                                                                                                                                                                                                                                                                                                                                                                        KE                                                                                                                                                                                                                                                         R HIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BRIA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              EY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               R                                                                                                                                                                                                                                                                                                                                                                                                                                                        RI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ARR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   O                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 WOODS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  M                                                                                                                                                                                                                                                                                                                                                                                                                                                                             G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       S FREEMAN RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        IN D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               AR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       SO L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EP                                                                                                                                       D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     DG E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SWALL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DR                                                                                                                                                                                                                       L R RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OWO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               EN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     SHORT DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             HIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       OW DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  DE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             SQUIRE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   EL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CK          Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           DIE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    NC                                                                                                                  O          U R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                CELE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ML                          BLUFF CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ED                                                                                                                         B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               HIDDEN ME




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   HE         LE           STONE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          IR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                OD L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              RW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            DD HIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LAWRENC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     RN C




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     CT                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     HEDGER




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ET LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      HBR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   S P RU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       OO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          OOK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                OV                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ACO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           EN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              BITTERSWE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CIR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HILLSBORO DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         GL                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               DE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ADOWS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              SITKA CI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                SLEEPY HOLLOW LN                                                                                                                                                                                                                                                                                      R                                                                                                                                                                                                                                                              NN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DB




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                IS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LAWRENCE PL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    CAN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             IC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ASHWOOD LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          O




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                IR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               LD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        QU A




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  O




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    RC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         IL RU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 SR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         HA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            PLE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        SY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        NAP                                                                                                                                                                                                                                                                                                                                                                                                                                                              PO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     TH O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BURTON




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   GREENMEADOW DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ROBINHOOD DR



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             DRAUDT RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 CE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      WO                                                                      BRU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 O                       N RD                                                                                                                                                                                      OD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             NEWT                                                                                                                                                                                                                    ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        R               EA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TR                                                                               WILDWOOD DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      WILDW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           OO                 D LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      GRAND VIEW TRL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BENNING RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  CARLTON DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          NT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  S CHE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        BU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RFF R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          COLE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                CHESTNUT RIDGE RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       GINGER LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  VE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             GT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        XIN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                BEHM RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         GARTMAN RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      SA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        BB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          OT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             T




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               T         DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DORS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SEUFERT RD



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    GE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ON RID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          BOST



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    WARD RD
